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                                                                        CLERK
                                                                  U.S. DISTRICT COURT

                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF UTAH


BUREAU OF CONSUMER FINANCIAL
                                                      Case No. 2:19-cv-00298-BSJ
PROTECTION,

      Plaintiff,
                    v.

PROGREXION MARKETING, INC., et al.,

      Defendants.



                                       ORDER

      This matter came before the Court on Defendant John C. Heath, P.C.’s

(D/B/A Lexington Law) Motion for Partial Summary Judgment on Count I (ECF

171) (“Motion”). The Court considered the Motion, Plaintiff’s response in

opposition thereto (ECF 230), Heath P.C.’s reply (ECF 249), the associated

appendices of evidence submitted by the parties, and the related evidentiary

objections and responses thereto (ECF 227, 245, 248, 262, and 263). The Court

held a hearing on the Motion on January 13, 2022 by video conference. On the

basis of the briefing, the oral argument, and the entire record, and for the reasons

stated at the hearing, it is hereby:

      ORDERED, that the Motion is DENIED without prejudice.
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Dated: January 20, 2022                 ______________________
                                        Hon. Bruce S. Jenkins
                                        United States District Judge




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